               IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF IOWA
                         WESTERN DIVISION

UNITED STATES OF AMERICA,
             Plaintiff,                         No. 05-CR-4001-DEO
vs.                                      ORDER REGARDING REPORT AND
                                          RECOMMENDATION CONCERNING
STEVEN JOSEPH SIGALA, a/k/a
Hernan Cortes, a/k/a Clyde,                      GUILTY PLEA

             Defendant.
                          ____________________

                  I.    INTRODUCTION AND BACKGROUND

      On January 18, 2005, an 8 Count Indictment (Docket No. 1,

01/18/2005)    was     returned    against      defendant     Steven    Joseph

Sigala,   a/k/a      Hernan   Cortes,    a/k/a      “Clyde”;      and    a      co-

defendant.     Only Count 1 and Count 8 pertain to defendant

Steven Joseph Sigala.

      Count 1 of that Indictment charges that between about

January, 2002, and continuing through January 16, 2005, in the

Northern District of Iowa and elsewhere, the defendant Steven

Joseph Sigala, a/k/a Hernan Cortes, a/k/a “Clyde”, having

previously been convicted of a felony drug offense, that is,

sell/transport marijuana/hashish on or about February 1, 2001,

in Modesto, California, and a co-defendant, did knowingly and

unlawfully combine, conspire, confederate, and agree with each




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other and with other persons, known and unknown to the Grand

Jury,   to   distribute   500    grams   or   more    of   a   mixture       or

substance containing a detectable amount of methamphetamine,

a Schedule II controlled substance, in violation of Title 21,

United States Code, Sections 841(a)(1), 841(b)(1)(A) and 851.

This was in violation of Title 21, United States Code, Section

846.

       Count 8 of that Indictment charges that on or about

January 16, 2005, in the Northern District of Iowa, the

defendant, Steven Joseph Sigala, a/k/a Hernan Cortes, a/k/a

“Clyde”, having previously been convicted of a felony drug

offense on or about February 1, 2001, in Modesto, California,

did knowingly and unlawfully possess with intent to distribute

50 grams or more of a mixture or substance containing a

detectable amount of methamphetamine, a Schedule II controlled

substance.    This was in violation of Title 21, United States

Code, Sections 841(a)(1), 841(b)(1)(B), and 851.

       On February 7, 2007, defendant Steven Joseph Sigala,

a/k/a Hernan Cortes, a/k/a “Clyde”, appeared before United

States Magistrate Judge Paul A. Zoss and entered a plea of

guilty to Counts 1 and 8 of the Indictment.           On the same date,


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United   States   Magistrate       Judge     Zoss   filed     a     Report        and

Recommendation     (Docket      No.    89,   02/07/2007)          in   which      he

recommends that defendant Steven Joseph Sigala, a/k/a Hernan

Cortes, a/k/a Clyde’s guilty plea be accepted.                    No objections

to Judge Zoss’s Report and Recommendation were filed.                             The

Court, therefore, undertakes the necessary review of Judge

Zoss’s   recommendation      to    accept       defendant    Steven       Joseph

Sigala, a/k/a Hernan Cortes, a/k/a Clyde’s plea in this case.

                             II.      ANALYSIS

                      A.     Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).            Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

          The district judge to whom the case is

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             assigned shall make a de novo determination
             upon the record, or after additional
             evidence, of any portion of the magistrate
             judge’s disposition to which specific
             written   objection   has   been   made  in
             accordance with this rule.     The district
             judge may accept, reject, or modify the
             recommendation decision, receive further
             evidence, or recommit the matter to the
             magistrate judge with instructions.

FED. R. CIV. P. 72(b).

      In this case, no objections have been filed, and it

appears to the Court upon review of Judge Zoss’s findings and

conclusions that there are no grounds to reject or modify

them.

      IT   IS    THEREFORE   HEREBY     ORDERED       that   the   this    Court

accepts Judge Zoss’s Report and Recommendation (Docket No.

89), and accepts defendant’s plea of guilty in this case to

Counts 1 and 8 of the Indictment filed on January 18, 2005

(Docket No. 1).

      IT IS FURTHER HEREBY ORDERED that in light of the plea

entered by defendant Steven Joseph Sigala, the motions pending

in    this      case,   “Motion    In       Limine”     (Docket      No.    39);

“Supplemental Motion In Limine And Memorandum” (Docket No.




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44); and, “Motion Pursuant To Rule Criminal Procedure 12.2

Under Seal” (Docket No. 55) are each hereby denied as moot.

    IT IS SO ORDERED this 27th day of March, 2007.


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                                  Donald E. O’Brien, Senior Judge
                                  United States District Court
                                  Northern District of Iowa




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